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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

PETER NYGARD, NYGARD INTERNATIONAL
PARTNERSHIP, and NYGARD INC.
                                                Case No. 8:15-cv-01939-VMC-EAJ
      Plaintiffs,

v.
                                                PLAINTIFFS’ COMPLIANCE
JACKY JASPER a/k/a SEAN MERRICK a/k/a           WITH COURT’S JANUARY 4,
GREG COMEAU a/k/a                               2016 REPORT AND
HOLLYWOOD STREET KING a/k/a HSK d/b/a           RECOMMENDATION
DIARYOFAHOLLYWOODSTREETKING.COM;
and JOHN or JANE DOES 1-10,

      Defendant.

      Pursuant to this Court’s January 4, 2016 Report and Recommendation (Dkt. # 22),

Plaintiffs PETER NYGARD, NYGARD INTERNATIONAL PARTNERSHIP, and

NYGARD INC. (“Plaintiffs”) served a copy of the Report and Recommendation by the

below means to Defendant:

      1.     Mailed via Certified Return Receipt Tracking No. 70140150000214660843

to Mr. Jacky Jasper, 12271 Lexington Park Drive, Tampa, FL 33626.

      2.     Via     email    correspondence     to     jackyjasperXXX@gmail.com,

jacky@hollywoodstreetking.com, and hsk@hollywoodstreetking.com.

Respectfully submitted this
7th day of January, 2016
                                s/ Amy L. Baker
                                _________________________________________
                                AMY L. BAKER, ESQUIRE
                                Florida Bar No. 86912
                                amy.baker@wilsonelser.com
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                             CERTIFICATE OF SERVICE

       I certify that on January 7, 2016, I presented the foregoing to the Clerk of the

Court for filing and uploading to the CM/ECF system which will send a notice of

electronic filing to all parties registered with CM/ECF for this matter.


                                   s/ Amy L. Baker
                                   _________________________________________
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ALB:ajc
